                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.,

                      Plaintiffs,                            Case No. 1:20-cv-00442
v.

Dairy Farmers of America, Inc.,

                      Defendant.



 JOINT SUBMISSION REGARDING AGREED-UPON SCHEDULING ORDER

       NOW COME the Parties in this matter, pursuant to the Court’s Order of June 10,

2020 [ECF No. 28] providing for Expedited Discovery, as extended by the Court’s Order

of 23, 2020 [ECF No. 35], and provide the following Joint Submission on Discovery

Scheduling.

       The Parties have reached an agreement in principle that contemplates, at the Court’s

suggestion, a consolidation of the pending motion for preliminary injunction with a bench

trial on the merits pursuant to Rule 65(a)(2) and a concomitant schedule to effectuate that

procedure. This agreement is conditioned upon a separate stipulated order the parties have

been negotiating that would preserve the status quo pending trial and the ability of DFA to

continue to operate the Carolinas Plants in the regular course of business. The parties are

currently finalizing this agreement and intend to submit both the agreed-upon schedule and

the proposed stipulated order for the Court’s consideration by no later than July 1, 2020.




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As such, the Parties do not anticipate that they will have any disagreements requiring the

Court’s assistance to resolve.

       Respectfully submitted this 29th day of June 2020.

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